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14

15                                UNITED STATES DISTRICT COURT
16               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
17                                         )   CASE NO.: 4:22-cv-5240-HSG
                                           )
18                                         )   [PROPOSED] ORDER GRANTING
                                           )   DEFENDANTS TESLA INC., TESLA LEASE
19 IN RE TESLA ADVANCED                    )   TRUST, AND TESLA FINANCE LLC’S
   DRIVER ASSISTANCE SYSTEMS               )   MOTION TO COMPAL AND STAY PENDING
20 LITIGATION                              )   ARBITRATION AND MOTION TO DISMISS
                                           )   AND REQUEST FOR JUDICIAL
21                                         )   NOTICE/INCORPORATION BY REFERENCE
                                           )   IN SUPPORT OF THE MOTIONS
22                                         )
                                           )   [Filed concurrently with Defendants’ Motion to
23                                         )   Compel and Stay Pending Arbitration and Motion to
                                           )   Dismiss]
24                                         )
                                           )   Hon. Haywood S. Gilliam, Jr.
25                                         )   Date: March 23, 2023
                                           )   Time: 2:00 p.m.
26                                         )   Courtroom 2 – 4th floor
                                           )
27                                         )   Amended Consolidated Complaint Filed: October 28,
                                           )   2022
28

     CASE NO.: 4:22-CV-5240-HSG                                                  [PROPOSED] ORDER
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 1                                        [PROPOSED] ORDER

 2          Having considered Defendants Tesla Inc., Tesla Lease Trust, and Tesla Finance LLC

 3 (“Tesla”)’s Motion to Compel and Stay Pending Arbitration and Motion to Dismiss the Complaint

 4 (the “Motions”) and Tesla’s Request for Incorporation by Reference/Judicial Notice in Support of

 5 the Motions (“Request”), the papers filed in support of and in opposition to the Motions and the

 6 Request, and arguments by counsel, the Court finds that there is good cause to GRANT the

 7 Motions and Request.

 8          THEREFORE, IT IS ORDERED that Tesla’s Motion to Compel and Stay Pending

 9 Arbitration and Motion to Dismiss the Complaint and Tesla’s Request for Incorporation by
10 Reference/Judicial Notice in Support of the Motions are GRANTED.

11          IT IS FURTHER NOTICED that Plaintiffs Brenda T. Broussard, Dominick Battiato,
12 Christopher Mallow, and Jazmin Imaguchi shall arbitrate their claims and the proceedings as

13 related to these plaintiffs’ claims are stayed pending arbitration of their claims.

14          IT IS FURTHER ORDERED that the Complaint is dismissed as to Plaintiff Thomas J.
15 LoSavio.

16

17 DATED: _______________, 2023
                                                            Hon. Haywood S. Gilliam, Jr., Judge
18
                                                            United States District Court, Northern
19                                                          District of California

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     CASE NO.: 4:22-CV-5240-HSG                                                          [PROPOSED] ORDER
